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   ATTORNEYS FOR PLAINTIFFS, CARPENTERS SOUTHWEST
 7 ADMINISTRATIVE CORPORATION and BOARD OF TRUSTEES
   FOR THE CARPENTERS SOUTHWEST TRUSTS
 8
 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
   CARPENTERS SOUTHWEST                           CASE NO.
12 ADMINISTRATIVE CORPORATION
   a California non:profit coq1oration; and       COMPLAINT FOR:
13 BOARD OF TRUSTEES FOR THE
   CARPENTERS SOUTHWEST                           1. DAMAGES FOR FAlLURE
14 TRUSTS,                                           TO PAY FRINGE BENEFIT
                                                     CONTRIBUTIONS;
15                    Plaintiffs,
                                                  2. DEFALCATION OF
16 v.                                                FIDUCIARY BY THE
                                                     MISAPPROPRIATION OF
17 MCL CONSTRUCTION, INC.,                           VACATION AND DUES FUNDS
   a California· co{):oration;                       HELD IN FIDUCIARY
18 WADE ANTH NY McCONNELL,                           CAPACITY;
   an individual; LORAINE ANN
19 McCONNELL, an individual;                      3. BREACH OF SETTLEMENT
   DOES 1 through 100, inclusive,                    AGREEMENT
20 inclusive,
21                   Defendants.
22
23                                    JURISDICTION
24       1.      This is a civil action 1) to recover fringe benefit contributions, 2) for
25 defalcation of fiduciary, and 3) for breach of settlement agreement. This action
26 arises and jurisdiction ofthe court is founded on section 301 ofthe
27 Labor-Management Relations Act of 1947, as amended ("LMRA"), 29 U.S.C. §
28 ///
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     185a, and Sections 502 and 515 of the Employee Retirement Income Security Act of
 2 1974, as amended ("ERISA"), 29 U.S.C. § 1132 and 1145.
 3
 4                              PARTIES AND OTHERS
 5      2.       CARPENTERS SOUTHWEST ADMINISTRATIVE
 6 CORPORATION, a California non-profit corporation ("CSAC") is a non-profit
 7 corporation duly organized and existing under and by virtue of the laws of the State
 8 of California. CSAC's principal place ofbusiness is in the County of Los Angeles,
 9 State of California.
10      3.       At all relevant times herein, the BOARD OF TRUSTEES FOR THE
11 CARPENTERS SOUTHWEST TRUSTS were and now are fiduciaries and are duly
12 authorized and acting trustees of those ERISA Trust Funds defined in paragraph six.
13      4.       CSAC and BOARD OF TRUSTEES FOR THE CARPENTERS
14 SOUTHWEST TRUSTS are also authorized agents to act on behalf of the remaining
15 Funds and entities (defined in paragraph nine) with respect to these delinquencies.
16 CSAC and BOARD OF TRUSTEES FOR THE CARPENTERS SOUTHWEST
17 TRUSTS are sometimes collectively referred to as "PLAINTIFFS."
18      5.       The true names and capacities, whether individual, corporate, associate,
19 or otherwise, of defendants named herein as DOES 1 through 100, are unknown at
20 this time to PLAINTIFFS. PLAINTIFFS therefore sue the defendants by such
21 fictitious names, and PLAINTIFFS will amend this complaint to show their true
22 names and capacities when the same has been ascertained. PLAINTIFFS are
23 informed and believe and thereon allege that each of the fictitiously named
24 defendants is responsible in some manner for the occurrences herein alleged, either
25 through its own conduct, or through the conduct of its agents, servants and/or
26 employees, or in some other manner as yet unknown, and that PLAINTIFFS'
27 damages as herein alleged were proximately caused by those defendants.
28      6.       At all relevant times, the Southwest Carpenters Health and Welfare

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 1 Trust, the Southwest Carpenters Pension Trust, the Southwest Carpenters Vacation
 2 Trust, and the Southwest Carpenters Training Fund, were and are express trusts
 3 which exist pursuant to section 302 of the LMRA, 29 U.S.C. § 186, and
 4 multiemployer plans within the meaning of section 3 of ERISA, 29 U.S.C. § 1002.
 5      7.       At all relevant times, the Construction Industry Advancement Fund of
 6 Southern California, the Residential Housing Contract Administration Trust Fund,
 7 the Contractors-Carpenters Grievance and Arbitration Trust, and the Contract
 8 Administration Trust for Carpenter-Management Relations, were and are express
 9 trusts which exist pursuant to section 302 of the LMRA, 29 U.S.C. §186.
10      8.       At all relevant times, the Carpenters-Contractors Cooperation
11 Committee ("CCCC"), was and is a non-profit California corporation which exists
12 pursuant to section 5(b) of the Labor Management Cooperation Act of 1978, 92
13 Stat. 2020 (1978), for the purposes set forth in section 302(c)(9) ofLMRA, 29
14 U.S.C. § 186(c)(9).
15      9.       CSAC is the administrator of the Southwest Carpenters Health and
16 Welfare Trust, the Southwest Carpenters Pension Trust, the Southwest Carpenters
17 Vacation Trust, and the Southwest Carpenters Training Fund, and assignee of the
18 Construction Industry Advancement Fund of Southern California, the Residential
19 Housing Contract Administration Trust Fund, the Contractors-Carpenters Grievance
20 and Arbitration Trust, the Contract Administration Trust for Carpenter-Management
21   Relations, and the Carpenters-Contractors Cooperation Committee (collectively, the
22 "PLANS"), and as such is a plan fiduciary within the meaning of section 3 of
23 ERISA, 29 U.S.C. §1002.
24       I 0.    The duly authorized and acting trustees or directors of each of the
25 PLANS have also assigned to CSAC all their right, title and interest in and to any
26 and all amounts due and owing to the respective PLANS by the employer as herein
27 alleged.
28       11.     The Southwest Regional Council of Carpenters and its affiliated local


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 1 unions ("UNIONS") affiliated with United Brotherhood of Carpenters and Joiners
 2 of America, are labor organizations that are a party to the collective bargaining
 3 agreements involved.
 4      12.      At all relevant times, employer, MCL CONSTRUCTION, INC., a
 5 California corporation ("EMPLOYER"), was and is a contractor engaged in the
 6 construction industry within the jurisdiction of the relevant UNIONS.
 7      13.      At all relevant times, WADE ANTHONY McCONNELL, an
 8 individual, was and is listed with the California Secretary of State as Chief
 9 Executive Officer, Director and Owner of EMPLOYER, and is referred to
10 collectively in this complaint (with other individuals of EMPLOYER) as
11 "INDIVIDUALS."
12      14.      At all relevant times, LORAINE ANN McCONNELL, an individual,
13 was and is listed with the California Secretary of State as ChiefFinancial Officer,
14 Secretary, and Officer of EMPLOYER, and is referred to collectively in this
15 complaint (with other individuals ofEMPLOYER) as "INDIVIDUALS."
16                            FIRST CLAIM FOR RELIEF
17             (DAMAGES FOR FAILURE TO PAY FRINGE BENEFIT
18            CONTRIBUTIONS AGAINST MCL CONSTRUCTION, INC.,
19                  a California corporation; and DOES 1 through 5)
20      15.      On or about the date set forth thereon, EMPLOYER made, executed
21   and delivered to the UNION, a Carpenters Memorandum Agreement, dated
22 February 23, 2007 ("MEMORANDUM AGREEMENT"). A true and correct copy
23 is attached hereto, marked as Exhibit "1" and incorporated herein by reference.
24      16.      The MEMORANDUM AGREEMENT binds EMPLOYER to the terms
25 and conditions of the Carpenters Master Labor Agreement between United General
26 Contractors, Inc. and the Southwest Regional Council of Carpenters and its
27 affiliated Local Unions, United Brotherhood of Carpenters and Joiners of America,
28 dated July 1, 2006, and any renewals or subsequent Master Labor Agreements, and

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 1 the PLANS' agreements and any amendments, modifications, extensions,
 2 supplementations or renewals of the PLANS' agreements (collectively referred to as
 3 "AGREEMENTS"). The PLANS are third party beneficiaries of the
 4 MEMORANDUM AGREEMENT and Master Labor Agreements.
 5      17.      The Master Labor Agreement binds EMPLOYER to any renewals or
 6 subsequent applicable Master Labor Agreements and the PLANS' AGREEMENTS
 7 (collectively, the "AGREEMENTS").
 8      18.      The AGREEMENTS require EMPLOYER to pay fringe benefit
 9 contributions at the rates set forth therein for every hour worked by employees
10 performing services covered by the AGREEMENTS, and on account of all
11   compensation paid to employees performing services covered by the
12 AGREEMENTS.
13      19.      The AGREEMENTS require EMPLOYER to make the fringe benefit
14 contributions by way of Employers Monthly Reports ("REPORTS") to the PLANS
15 at their place of business in Los Angeles, California, on or before the 25th day of
16 each month following the month during which the hours for which contributions are
17 due were worked or paid. Further, the AGREEMENTS specifically provide that the
18 venue of an action to recover delinquent fringe benefit contributions shall be in the
19 County of Los Angeles.
20      20.      In acknowledging both that the regular and prompt payment of
21 employer contributions is essential to the maintenance of the PLANS, and the
22 extreme difficulty, if not impracticability, of fixing the actual expense and damage
23 to the PLANS when such monthly contributions are not paid when due, the
24 AGREEMENTS provide that the amount of contractual damages to the PLANS
25 resulting from a failure to pay contributions when due shall be presumed to be the
26 sum of$20.00 per delinquency or 10 percent of the amount ofthe contributions due,
27 whichever is greater. This amount shall become due and payable to the CSAC as
28 liquidated damages in addition to the unpaid contributions or contributions paid

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 1 late.
 2      21.      EMPLOYER engaged workers who performed services covered by the
 3 AGREEMENTS and who performed labor on works of construction within the
 4 jurisdiction of the PLANS' AGREEMENTS undertaken by EMPLOYER during the
 5 term of the PLANS' AGREEMENTS.
 6      22.      EMPLOYER has failed to pay the fringe benefit contributions in the
 7 manner prescribed by the AGREEMENTS, and there is now due and owing the
 8 PLANS from EMPLOYER the amounts set forth in Exhibit "2."
 9      23.      The PLANS have conducted Audits, which indicate that EMPLOYER
10 failed to report and pay all contributions owed during this time period. A true and
11 correct copy ofthe Audit Invoices (social security numbers redacted), dated
12 February 19, 2018 and April30, 2018, are attached as Exhibit "3."
13      24.      The AGREEMENTS require EMPLOYER to pay for the expense of
14 auditing EMPLOYER's business records if an audit by the PLANS indicates that
15 EMPLOYER failed to report and pay all contributions.
16      25.      As a result of the failure to pay fringe benefit contributions in the
17 manner prescribed by the AGREEMENTS, EMPLOYER is liable for interest on the
18 unpaid contributions from the first of the month following the date due, at the rate
19 prescribed by the AGREEMENTS.
20      26.      As a result of the failure to pay fringe benefit contributions in the
21   manner prescribed by the AGREEMENTS, EMPLOYER is liable for an amount
22 equal to the greater of interest on the unpaid contributions as prescribed by section
23 6621 of the Internal Revenue Code of 1954, 26 U.S.C. §6621, or liquidated
24 damages provided for under the AGREEMENTS.
25      27.      It has been necessary for PLAINTIFFS to engage counsel to bring this
26 action to recover the delinquent fringe benefit contributions. Pursuant to the
27 AGREEMENTS and section 502(g)(2) of ERISA, 29 U.S.C. § 1132(g)(2),
28 EMPLOYER is liable for reasonable attorneys' fees incurred in litigating this


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 1 matter.
 2      28.      The PLANS have complied with all conditions precedent.
 3      29.      CSAC has, concurrently with the filing of this complaint, served a copy
 4 of the same upon the Secretary of Labor and Secretary of the Treasury.
 5
 6                           SECOND CLAIM FOR RELIEF
 7       (DEFALCATION OF FIDUCIARY BY THE MISAPPROPRIATION
 8            OF VACATION FUNDS HELD IN FIDUCIARY CAPA CITY-
 9                  WADE ANTHONY McCONNELL, an individual;
10                  LORRAINE ANN McCONNELL, an individual;
11                               and DOES 6 through 10)
12      30.      PLAINTIFFS reallege and incorporate herein by reference each and
13 every allegation contained in paragraphs 1 through 29 of their First Claim for
14 Relief; and allege a Second Claim for Relief against INDIVIDUALS for defalcation
15 of fiduciary by the misappropriation of vacation/dues funds held in fiduciary
16 capacity by INDIVIDUALS as follows:
17      31.      The Vacation Plan (which includes the supplemental dues) was created
18 by the AGREEMENTS. The AGREEMENTS obligate EMPLOYER to include the
19 amounts to be paid to the Vacation Plan in the individual employees taxable income
20 and to submit the amount so deducted monthly to the Vacation Plan.
21      32.      PLAINTIFFS are informed and believe and, based on such information
22 and belief, allege that during the months of May 20 16 through December 20 16,
23 INDIVIDUALS withheld funds from EMPLOYER's employees. INDIVIDUALS
24 failed to properly forward the withheld funds to the Vacation Plan, in an amount to
25 be proven at trial. By acting in this manner, INDIVIDUALS exercised discretionary
26 authority or control over the assets of the Vacation Plan and were thus a fiduciary.
27      33.      PLAINTIFFS are informed and believe and based on such information
28 and belief, allege that EMPLOYER was, and still is, justly and truly indebted to said


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 1 Vacation Plan (as to contributions only) in an amount as set forth in Exhibit "4."
 2      34.      In assuming the obligations to ascertain and report contributions to the
 3 Vacation Plan, INDIVIDUALS entered into a fiduciary relationship with the
 4 Vacation Plan, and were thereby obligated to pay the Vacation Plan all monies
 5 withheld from the employees' wages.
 6      35.      PLAINTIFFS are informed and believe and, based on such information
 7 and belief, allege that by failing to segregate trust property, by misappropriating or
 8 failing to account for trust property and by failing to timely tender funds withheld
 9 from employees to the Vacation Plan, INDIVIDUALS breached INDIVIDUALS'
10 fiduciary obligations and thus engaged in defalcation.
11      36.      At all times material herein, INDIVIDUALS are and were a fiduciary
12 with respect to the PLANS within the meaning of Section 3(21)(A) of ERISA, 29
13 U.S.C. § 1002(21)(A), because INDIVIDUALS exercised discretionary authority or
14 control respecting management of disposition of assets of the PLANS.
15      37.      By engaging in the acts and omissions described herein,
16 INDIVIDUALS caused assets ofthe PLANS to inure to the benefit of an employer,
17 namely EMPLOYER, and not to the benefit of participants in the PLANS and their
18 beneficiaries and not for defraying reasonable expenses of the PLANS. These
19 actions were in violation of Section 403(c)(l) ofERISA, 29 U.S.C. §1103(c)(l).
20
21                            THIRD CLAIM FOR RELIEF
22                  (BREACH OF SETTLEMENT AGREEMENT-
23             MCL CONSTRUCTION, INC., a California corporation;
24                               and DOES 10 through 15)
25      38.      PLAINTIFFS reallege and incorporate herein by reference each and
26 every allegation contained in paragraphs 1 through 29 of its First Claim for Relief
27 and every allegation contained in paragraphs 30 through 37 of its Second Claim for
28 Relief. This Third Claim for Relief is asserted as to MCL CONSTRUCTION, INC.,

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 1 a California corporation; and DOES 10 through 15, ("EMPLOYER").
 2      39.     On or about March 11, 2014, settlement was reached as to
 3 EMPLOYER. Pursuant to this settlement, EMPLOYER entered into a written
 4 SETTLEMENT AGREEMENT executed on or about March 11, 2014. A true and
 5 correct copy of the SETTLEMENT AGREEMENT is attached hereto, marked
 6 Exhibit "5" and incorporated herein by reference.
 7      40.     By this SETTLEMENT AGREEMENT, EMPLOYER promised that
 8 upon execution, it would pay to CSAC the sum of $5,000.00 as a down payment on
 9 the payment plan; that EMPLOYER would pay the remaining sum of$78,392.77 in
10 monthly payments of $350.00 on the first day of each month; that if payments were
11 not received by CSAC in the full amount agreed upon on the payment due date, upon
12 ten (10) days notice to EMPLOYER CSAC could declare the payment plan in
13 default.
14      41.     CSAC's counsel's paralegal sent an email dated August 12, 2016 giving
15 the EMPLOYER notice of its breach of the SETTLEMENT AGREEMENT and
16 demanding payment. True and correct copy is attached hereto, marked as Exhibit
17 "6" and incorporated herein by reference.
18      42.     PLAINTIFFS have complied with all conditions on their part to be
19 performed under the terms of the SETTLEMENT AGREEMENT.
20      43.     EMPLOYER has failed to comply with the terms of the SETTLEMENT
21 AGREEMENT.
22      WHEREFORE, PLAINTIFFS pray for judgment as follows:
23                            FIRST CLAIM FOR RELIEF
24            (FAILURE TO PAY FRINGE BENEFIT CONTRIBUTIONS-
25             MCL CONSTRUCTION, INC. a California corporation;
26                               and DOES 1 through 5;
27      1.      For unpaid contributions in the sum of $101 ,931.19;
28      2.      For interest and liquidated damages, as provided in the

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  1               AGREEMENTS;
  2       3.      For a statutory amount equal to the greater of the interest on unpaid
  3               contributions which were owing as of the time of the filing of the
  4               complaint herein (at the rate prescribed by law), or liquidated damages
  5              as provided in the AGREEMENTS, in the amount to be determined.
  6                           SECOND CLAIM FOR RELIEF
  7        (DEFALCATION OF FIDUCIARY BY THE MISAPPROPRIATION
  8            OF VA CATION FUNDS HELD IN FIDUCIARY CAPACITY-
  9                 WADE ANTHONY McCONNELL, an individual;
 10                    LORAINE ANN McCONNELL, an individual;
 11                                and DOES 6 through 10)
 12       1.     That the Court determine that INDIVIDUALS are liable for the funds
 13              withheld from the Vacation Plan in the sum of$11,615.91;
 14       2.     That the Court determine the remaining issues and render judgment for
 15              PLAINTIFFS for the amount of debt, plus interest as proven at trial.
 16                              THIRD CLAIM FOR RELIEF
 17                  (BREACH OF SETTLEMENT AGREEMENT-
 18             MCL CONSTRUCTION, INC., a California corporation;
 19                               and DOES 10 through 15)
 20       1.   For unpaid amount owed pursuant to the SETTLEMENT AGREEMENT
 21   in the sum of$64,723.89;
 22       2.   For interest, as provided in the SETTLEMENT AGREEMENT, on the
 23 unpaid balance of the settlement agreement.
 24
 25       AS TO ALL OF PLAINTIFFS' CLAIMS FOR RELIEF:
 26       1.     For reasonable attorneys' fees;
 27       2.     For costs of this action;
 28 ///

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        3.      For further contributions according to proof; and
  2     4.      For such other and further relief as the court deems proper.
  3
  4 Dated: May 8, 2019                    DeCARLO & SHANLEY,
                                          a Professional Corporation
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                                          Attorneys for Plaintiffs,
  8                                       CARPENTERS SOUTHWEST
                                          ADMINISTRATIVE CORPORATION and
  9                                       BOARD OF TRUSTEES FOR THE
                                          CARPENTERS SOUTHWEST TRUSTS
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